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                                                                             Exhibit 4
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 I,                                   , declare as follows:


 1.     This declaration is based on my personal knowledge. I execute this declaration to
 update the declaration made June 8, 2018. If called to testify in this case, I would testify
 competently about these facts.
 2.     I am 17 years old. I am currently detained at St. Michael's Home for Children in
 Houston, Texas.
 3.     Since Flores counsel visited me on June 8, 2018, I have asked the staff at St.
 Michael's several times to facilitate phone calls with Flores counsel. The staff have
 refused to let me make calls to Flores counsel. Every time I have asked the staff to
 facilitate a call to Flores counsel, they have told me that they first needed to contact
 Flores counsel to arrange the call, but I don't think they ever contacted Flores counsel. I
 think the staff didn't want me to call Flores counsel, so they lied to me about why I
 couldn't make the calls.
 4.     When Flores counsel has called to speak with me on the phone, I have not been
 allowed to speak with Flores counsel privately. My case manager sat in the same room as
 me when I spoke to Flores counsel over the phone in June. She wore headphones, but I
 think she was able to hear my conversation with counsel. None ofmy phone calls are
 private; they are always monitored: I hate that there is no privacy here. I don't feel like I
 can talk about how I really feel when the staff are listening.
 5.     I have not seen a psychiatrist since I left Shiloh in April. I am supposed to have an
 appointment, but not until some time in August. However, I am still being given
 medication, including Prozac and Adderall. I was told that the Adderall would help me
 lose weight, but I have not lost weight, and I don't feel like any of the medication is
 helping me feel better. I do not want to take the medications, but I was told that ifl don't
 take them, I will be disciplined and the staff will further restrict the little freedom I have
  at St. Michael's.
  6.    My case manager has told me multiple times that I will not leave St. Michael's
  until I am 18 years old.
 -,.    I have to get out of this place. The staff are so mean; they tease me and try to
  embarrass me. They monitor me very closely all the time. I don't have any privacy.Exhibit 4
                                                                                            Page 58
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  a     I desperately want to live with my grandfather. I know I will be so happy when I
  am finally free.


        I declare under penalty of perjury that the foregoing is true and correct. Executed
        on this   J2t.. day of JvtuJ , 2018, at   }:{CU'&-tm'\   , Texas.




                                                                                     Exhibit 4
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                            CERTIFICATE OF TRANSLATION


                           f1!l f}:IZ:Q.LG(, , hereby certify that I am proficient in both
  Spanish and English, and that I accurately translated the foregoing statement and read it
  back to                         in its entirety in Spanish on   Jv 1~ \2J 2Pl 8




                                                                                        Exhibit 4
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